

Plante v South Bristol Resorts LLC (2017 NY Slip Op 08105)





Plante v South Bristol Resorts LLC


2017 NY Slip Op 08105


Decided on November 17, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 17, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, DEJOSEPH, TROUTMAN, AND SCUDDER, JJ.


746/16 CA 15-01248

[*1]ALLISON PLANTE, ON BEHALF OF HERSELF AND ALL OTHER EMPLOYEES SIMILARLY SITUATED, PLAINTIFF-RESPONDENT,
vSOUTH BRISTOL RESORTS LLC, DEFENDANT-APPELLANT. 






TREVETT CRISTO P.C., ROCHESTER (ERIC M. DOLAN OF COUNSEL), FOR DEFENDANT-APPELLANT. 
CORDELLO LAW PLLC, ROCHESTER (JUSTIN M. CORDELLO OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from a judgment and order (one paper) of the Supreme Court, Ontario County (Matthew A. Rosenbaum, J.), entered March 9, 2015. The judgment and order, insofar as appealed from, granted in part the motion of plaintiff for summary judgment on the complaint. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on October 30, 2017,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: November 17, 2017Mark W. Bennett
Clerk of the Court








